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                        EXHIBIT 1
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                           State of N a v York
                    Supreme Court, Appelhte Division
                        ~hird~udiciat Department
Decided and Entered: April 26, 2007


In the Matter of the PEOPLE OF
   THE STATE OF NEW YORK, by
   ELIOT SPITZER, as Attorney
   General of the State of
   New York,
                    Respondent,
      v

PHARMACIA CORPORATION,
                    Appellant.

(Proceeding No. 1 . )
                                            MEMOFUNDUM AND ORDER

In the Matter of the PEOPLE OF
   THE STATE OF NEW YORK, by
   ELIOT SPITZER, as Attorney
   General of the State of
   New York,
                    Respondent,
      v

AVENTIS PHARMACEUTICALS, INC.,
                   Appellant.
(Proceeding No. 2.)



Calendar Date: February 15, 2007
Before: Peters, J.P.,Mugglin, Rose and Lahtinen, JJ.




      Morgan, Lewis & Bockius, L.L.P.,Philadelphia, Pennsylvania
and Nixon Peabody, L.L.P.,Albany (Andrew C. Rose of counsel),
for Pharmacia Corporation, appellant.
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      Greenberg Traurig, L.L.P., New York City (Stephen L. Saxi
of counsel) and Shook, Hardy & Bacon, L.L.P.,Kansas City,
Missouri, for Aventis Pharmaceuticals, Inc., appellant.

      Andrew M. Cuomo, Attorney General, New York City (Patrick
E. Lupinetti of counsel), for respondent.




Rose, J.

      Appeals from an order of the Supreme Court (McCarthy, J.),
entered July 24, 2006 in Albany County, which, in two proceedings
pursuant to Executive Law § 63 (121, inter alia, denied
respondents' cross motions to compel discovery.

          Petitioner commenced these proceedings to recover
 overpayments of reimbursements made by the New York State
Medicaid and EPIC programs to participating pharmacies for the
 cost of certain drugs. Drug reimbursements under these programs
were calculated from the "average wholesale price" listed in
 reports published by prescription drug price reporting services
and based upon information provided by drug manufacturers (see
Social Services Law former § 367-a [91 [bl; Executive Law former
5 5 4 7 - j [I] [b]). Alleging that respondents intentionally
provided inflated prices to the reporting services, petitioner
asserts violations of General Business Law § 349, which prohibits
deceptive commercial practices, and Executive Law § 63 (12),
which prohibits repeated fraudulent acts in carrying on a
business. To aid their defense against these claims, respondents
demanded production of information and documents from various
state agencies and elected officials which purportedly will show
that the state was aware that the reported prices do not reflect
the actual prices paid by the pharmacies. When respondents
sought to compel compliance with their discovery demand, Supreme
Court denied their motion because it found that the requested
materials were irrelevant to what the Legislature had meant by
the term "average wholesale price" in the reimbursement statutes.
Respondents appeal.
   Case 1:01-cv-12257-PBS Document 7132-1 Filed 06/10/10 Page 4 of 5




       Supreme Court is vested with broad discretion to control
disclosure and we will not disturb its determination unless a
clear abuse is shown (seeCzarnecki v Welch, 23 AD3d 914, 915
[2005]; Fox v Fox, 309 AD2d 1056, 1057-1058 120031). While CPLR
article 31 mandates "full disclosure of all matter material and
necessary in the prosecution or defense of an action" (CPLR 3101
[a]), the party seeking disclosure must demonstrate how the
requested materials are relevant to issues in the matter (see
e . ~ Allen
      .     v Crowell-Collier Publ. Co., 21 NY2d 403, 406-407
[19681; Vvas v Cam~bell,4 AD3d 417, 418 [2004]). We are not
persuaded that respondents have done so here.

       Respondents concede that the prices they provided to the
 reporting services were not average prices actually paid by the
pharmacies, but rather they were list wholesale prices before
discounts. They maintain, however, that they did not represent
the reported prices to be the prices actually paid, and the
affected state agencies and officials knew this. However,
regardless of what officials may have known, the causes of action
against respondents ultimately depend upon petitioner's ability
to prove that the Legislature intended the "average wholesale
price" to be based upon prices actually paid and that respondents
were required to provide those prices rather than list prices to
the reporting services. Because petitioner's claims do not
depend upon an allegation that agencies or officials were
deceived, but rather that respondents intentionally inflated the
reported prices in order to manipulate and deceive the mandated
statutory reimbursement formulae, any evidence that agencies or
officials were aware of respondents' failure to provide prices
actually paid would be neither necessary nor material to their
defense. It is, among other things, the statutory mandate that
reimbursements be calculated based upon reported prices,
regardless of what agencies or officials may have known about
those prices, that makes the holding in State of New York v
Rachmani Corp. (71 NY2d 718 [19881) inapplicable here.

     Peters, J.P., Mugglin and Lahtinen, JJ., concur.
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                                         -4-                        501496

    ORDERED t h a t t h e o r d e r i s a f f i r m e d , without c o s t s .




                                       ENTER




                                       Clerk of w u r t
